O AO 247 (N C/W 03/08) O rder Regarding M otion for Sentence Reduction



                                        U NITED STATES D ISTRICT COURT
                                                                         for the
                                                        Western District of North Carolina

                     United States of America                              )
                                v.                                         )
  SHON TIWONG VANDERBURG, a/k/a SHON TIGWON                                )   Case No: 5:05CR9-27
   VANDERBURG & SHON TYGWON VANDERBURG                                     )   USM No: 19942-058
Date of Previous Judgment: February 20, 2007                               )   Tanzania Cannon-Eckerle
(Use Date of Last Amended Judgment if Applicable)                          )   Defendant’s Attorney

                     Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of  the defendant  the Director of the Bureau of Prisons  the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
        DENIED.  GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of             months is reduced to                           .
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:    21                Amended Offense Level:                                             21
Criminal History Category: IV                Criminal History Category:                                         IV
Previous Guideline Range:  120 to 120 months Amended Guideline Range:                                           120      to 120   months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
 The reduced sentence is within the amended guideline range.
 The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
 Other (explain): No reduction as the guideline range remains unchanged due to the mandatory statutory minimum
                     sentence. Additionally, the total offense level did not change due to the offense level calculations under
                     18 U.S.C. § 922(g)(1).



III. ADDITIONAL COMMENTS




Except as provided above, all provisions of the judgment dated                     February 20, 2007 shall remain in effect.
IT IS SO ORDERED.

Order Date:          June 1, 2009


Effective Date: June 1, 2009
                       (if different from order date)


              Case 5:05-cr-00009-KDB-DCK                             Document 1231            Filed 06/01/09       Page 1 of 2
Case 5:05-cr-00009-KDB-DCK   Document 1231   Filed 06/01/09   Page 2 of 2
